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                                  IPP International U.G. Declaration Exhibit A
                                    File Hashes for IP Address 73.255.22.44

ISP: Comcast Cable
Physical Location: Houston, TX



Hit Date UTC           File Hash                                         Title
06/18/2018 03:52:35    40C4DBCA9FD987613EA49BB71233369C1172974A          Sunset Love

05/24/2018 14:10:24    6328B208498C109D6EFC9A77581474694711F92B          Afternoon Rendezvous

04/30/2018 13:47:18    C8C692FF2146E2D238037AA2FEA950EB22CB0DE0          In The Mood

04/13/2018 11:12:32    AFB45360C3A3887DCFCF38289F4525EAD9CD3661          Hot Blooded

03/27/2018 02:40:55    B002F3E3AA48C55EC5681ADDBB77C07A374F2FAB Stripshow Sex


Total Statutory Claims Against Defendant: 5




                                                  EXHIBIT A
STX190
